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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


SHAWNAY RAY AND
KANTICE JOYNER, on their own
behalf and on behalf of all others
similarly situated,

                       Plaintiffs,
                                                            Case No. 1:19-cv-01299-JKB
               v.
                                                            Judge: James K. Bredar
T-MOBILE US, INC.


                       Defendant.


      DEFENDANT’S MOTION TO COMPEL ARBITRATION AND TO DISMISS,
              OR IN THE ALTERNATIVE, STAY THIS ACTION



       Pursuant to 9 U.S.C. §§ 3 and 4 and Federal Rule of Civil Procedure 12(b)(1), Defendant

T-Mobile US, Inc. (“T-Mobile” or “Defendant) hereby respectfully moves this Court to enter an

Order: (i) compelling individual arbitration of Plaintiffs Shawnay Ray’s (“Ray”) and Kantice

Joyner’s (“Joyner”) (collectively “Plaintiffs”) claims brought under the Federal Communications

Act (“FCA”), 47 U.S.C. § 222, as required by their agreements with T-Mobile; and (ii)

dismissing their claims, or, in the alternative, staying this litigation until arbitration is complete.

T-Mobile states the following in support of this Motion:

       1.      Plaintiffs, as T-Mobile customers, agreed to and are bound by T-Mobile’s

arbitration agreement. The scope of Plaintiffs’ agreements to individually “resolve all disputes

with [T-Mobile] through binding arbitration” is broad, encompassing “any and all claims or

disputes in any way related to or concerning the agreement, [T-Mobile’s] privacy policy, [T-

Mobile’s] services, devices or products.” See Exhibit A (T-Mobile Terms & Conditions,
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effective as of August 22, 2018) (emphasis omitted); see also Declaration of Christopher Muzio

filed herewith (“Muzio Decl.”) ¶ 11.

       2.      Plaintiffs’ claims fall squarely within the scope of the arbitration agreement.

Plaintiffs’ claims relate to or concern their agreements with T-Mobile and T-Mobile’s privacy

policy because they base their claims on an allegation that T-Mobile “fail[ed] to safeguard highly

personal and private consumer geolocation” “data collected from [T-Mobile] users’ cell phones.”

(Compl. ¶¶ 3, 5, 76-80).

       The complete grounds for this Motion are more fully set forth in T-Mobile’s

Memorandum of Law filed in Support of this Motion.


Dated: July 8, 2019                                 Respectfully submitted,


                                                    /s/ Marlynda L. Romero
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of July, 2019, I filed and thereby caused the

foregoing document to be served via the CM/ECF system in the United States District Court for

the District of Maryland on all parties registered for CM/ECF in the above-captioned matter.


                                                    /s/ Marlynda L. Romero
                                                    Marlynda L. Romero




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